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SCHEDULE 1

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List of Potential Parties-in-Interest for New Century TRS Holdings, Inc., et al.

UCC-1 Parties

Access Investments I, LLC

Ameritech Credit Corporation

Aspen Funding Corp

Bank Leumi Leasing Corporation

Bank of America, NA

Bank of the West

Barclays Bank, PLC

Carrington Mortgage Credit Fund I, LP
CDC Mortgage Capital Inc.

Charter One Vendor Finance LLC

CIT Communications Finance Corporation
Citigroup Global Markets Realty Corp.
Consultants Group Commercial Funding Corp.
Countrywide Home Loans, Inc.

Credit Suisse First Boston Mortgage Capital LLC
DB Structured Products, Inc

Deutsche Bank Trust Company Americas
Federal National Mortgage Association
Galleon Capital Corp

Gemini Securitization Corp., LLC

General Electric Capital Corporation
GMAC Commercial Financial LLC
Goldman Sachs Morigage Company
Greenwich Capital Financial Products, Inc.
Guaranty Bank

Heineman, Dale Scott

IOS Capital

IXIS Real Estate Capital Inc

Johnson, Kurt F.

Mission Center Partners

Morgan Stanley Mortgage Capital Inc.

NC Capital Corporation

New Century Funding A

New Century Funding I

New Century Mortgage Securities Inc.
Newport Funding Group

PFE Internationai Inc.

Ropes & Gray LLP

St. Andrew Funding Turst c/o New Century Mortgage
State Street Global Markets

Sterling Bank

The CIT Group/Equipment Financing

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U.S. Bancorp Equipment Finance, Inc.
U.S. Bank National Association

UBS Real Estate Securities Inc.
United California Capital

Whitwood, Jason Alien

50 Largest Unsecured Creditors '

Adteractive

Affiliated Computer Services

Alaska Seaboard Partners Limited Partnership
Aspen Funding Corp.

Assurant Specialty Property Insurance
Aurora Loan Services

Bank of America, N.A.

Barclays Bank PLC

Carrington Securities, LP

Catarina Mortgage Services Inc.
ChoicePoint Precision Marketing
Citigroup Global Markets Realty Corp.
Countrywide

Credit Suisse First Boston Mortgage Capital LLC
Credit-Based Asset Servicing and Securitization LLC
DB Structured Products, Inc.

Deutsche Bank

EMC Mortgage Corporation

Fiserv CCS

Galleon Capital Corporation

Gemini Securitization Corp., LLC

General Electric Capital Corporation
GMAC Commercial Finance, LLC
Goldman Sachs Mortgage Company
Greenwich Capital Financial Products, Inc.
Guaranty Bank

Harbor Asset Management Services
HSBC Bank USA, N.A.

INDY MAC Bank, FSB

IXIS Real Estate Capital, Inc.

JP Morgan Chase Bank, NA

Lehman Brothers Bank FSB

Low.com

Lowermybilis.com

Morgan Stanley Mortgage Capital Inc.
National Field Representatives

' Sncludes certain UCC-1 Parties

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Newport Funding Corp.

Nextag

NOMURA Securities
Pricewaterhouse Coopers LLP
Residential Funding Corporation
SG Mortgage Finance Corp
Sheffield Receivables Corporation
Sprint

State Street Global Markets, LLC
Suntrust

System Source, Inc.

Tucson Funding LLC

UBS Real Estate Securities Inc.
Washington Mutual Bank, FA

Largest Shareholders of New Century Financial Corporation”

Greenlight Capital LLC

David Einhorn

Morgan Stanley

Morgan Stanley Capital Services

Hotchkis and Wiley Capital Management LLC

Directors and Senior employees

Alexander, Marilyn A.
Bilotta, Frank
Bindra, Taj 8.
Black, Harold A.
Cimino, Richard
Clifford, Leigh Ann
Cloyd, Kevin

Cole, Robert K
Dodge, Patti
Eckroth, Joseph
Fleig, David
Forster, Fredric J.
Garday, Louis
Gotschall, Edward
Haines, Eric

Jewett, Jennifer
Kenneally, David
Lambert, Robert
Lange, Donald E.

2 These individuals and entities directly or indirectly own more than 5% of the shares of New Century Financial
Corporation.

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Loewenthal, Marc
McCarthy, Monika L.
Meola, Anthony
Morrice, Brad A.
Sachs, Michael M.
Theologides, Stergios
Threadgill, Jonathan
Tortorelli, Joseph
Wolf, Colleen
Zalle, Paul
Zona, Richard A.
Professionals

AlixPartners LLP (crisis managers)

Allen Matkins Leck Gamble Mallory & Natsis LLP (special financing counsel)
Heller Ehrman LLP (counsel to audit committee}

Lazard Freres & Co. LLC (investment banker)

O'Melveny & Myers LLP (debtors’ counsel)

Richards Layton & Finger, P.A. (Delaware debtors’ counsel)

Skadden, Arps, Slate, Meagher & Flom (special regulatory counsel)

Thatcher Proffit (special securitization counsel)

Xroads Case Management Services, LLC (claims and noticing agent)

Debters

New Century Financial Corporation, a Maryland corporation

New Century TRS Holdings, Inc. (i/k/a New Century Financial Corporation), a Delaware
corporation

New Century Mortgage Corporation, a California corporation

NC Capital Corporation, a California corporation

Home123 Corporation, a California corporation

New Century Credit Corporation (f/k/a Worth Funding Incorporated), a California
corporation

NC Asset Holding, L.P. (f/k/a NC Residual II Corporation), a Delaware limited
partnership

NC Residual III Corporation, a Delaware corporation

NC Residual IV Corporation, a Delaware corporation

New Century R-E.O. Corp., a California corporation

New Century R.E.O. If Corp., a California corporation

New Century R.E.O. II Corp., a California corporation

New Century Mortgage Ventures, LLC, a Delaware corporation

NC Deltex, LLC, a Delaware corporation

NCORAL, L.P., a Delaware limited partnership

NC_. Conflict List M DOC 4
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